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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

JOSHUA DUNN, et al.,                                    )
                                                        )
                   Plaintiffs,                          )
                                                        )
v.                                                      )        CIVIL ACTION NO.:
                                                        )        2:14-cv-00601-MHT-TFM
JEFFERSON S. DUNN, et al.,                              )
                                                        )
                  Defendants.                           )

                    JOINT BRIEF REGARDING SCOPE OF ARBITRATION

            Plaintiffs and the Alabama Department of Corrections (“ADOC”) submit this joint brief

in response to this Court’s Preliminary Approval Order of June 13, 2016. (Doc. 532.)

Specifically, the Parties will address whether “there are claims arising under the ADA which an

individual prisoner would not be precluded from bringing by the substantive terms of the

proposed settlement agreement . . . ? Assuming that there are, can the court lawfully enter an

order containing a provision requiring unnamed class members to arbitrate these claims and

barring them from federal court; would this order be enforceable?” (Doc. 532 at 15.) In response

to this question, the Parties show as follows:

            1.     The Parties agree that this brief shall not be construed as a waiver of any defenses

that might be available to the ADOC as a result of the Amended and Restated Settlement

Agreement (Doc. 518) (“Amended Settlement Agreement”), including the defenses of res

judicata, collateral estoppel, release, waiver, etc. Rather, in any future proceeding, the Parties

agree that ADOC shall have the right to raise all potentially applicable defenses available under

the terms of the Amended Settlement Agreement. This brief is also not to be construed as an

acknowledgement of the merits of any defenses.

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            2.      The Parties agree that there could be claims arising under the Americans with

Disabilities Act (“ADA”) or Section 504 of the Rehabilitation Act (collectively the “Acts”),

which may not be covered by the terms of the Amended Settlement Agreement.

            3.      The Parties agree that, considering the procedural posture of this case, that absent

class members cannot be deemed to have consented to arbitrate any and all future claims arising

under the Acts during the period of the consent decree.

            4.      The Parties agree that, during the period of the consent decree envisioned by the

Amended Settlement Agreement, disputes arising under the Acts should be resolved as follows:

                 a. Inmates who are members of the Phase 1 class are not required to submit a claim
                    arising under the Acts to the dispute resolution procedures outlined in the
                    Amended Settlement Agreement unless the absent class member seeks to enforce
                    the terms of the Amended Settlement Agreement. In the event an inmate seeks to
                    enforce the terms of the Amended Settlement Agreement, the inmate will be
                    bound by all provisions of the Amended Settlement Agreement, which includes
                    the dispute resolution provisions.

                 b. Inmates who are members of the Phase 1 class can file a new and independent
                    action asserting violations of the Acts but cannot use the Amended Settlement
                    Agreement in the new lawsuit and must separately comply with all provisions of
                    the Prison Litigation Reform Act (“PLRA”) as well as all other applicable legal
                    requirements.

            5.      Inmates – enforcement of Amended Settlement Agreement. Under binding

precedent, a party cannot seek to enforce a contract while simultaneously repudiating some

provisions of that contract. See Bahamas Sales Assoc., LLC v. Byers, 701 F.3d 1335, 1342 (11th

Cir. 2012) (“In essence, equitable estoppel precludes a party from claiming the benefits of some

of the provisions of a contract while simultaneously attempting to avoid the burdens that some

other provisions of the contract impose.”) (citing Blinco v. Green Tree Servicing LLC, 400 F.3d

1308, 1312 (11th Cir.2005)); Custom Performance, Inc. v. Dawson, 57 So. 3d 90, 97 (Ala. 2010)

(“A plaintiff cannot simultaneously claim the benefits of a contract and repudiate its burdens and

conditions.”) (quoting S. Energy Homes, Inc. v. Ard, 772 So. 2d 1131, 1134 (Ala. 2000)). The

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members in the Phase 1 class cannot seek to enforce the terms of the Amended Settlement

Agreement without accepting all provisions of that agreement, which would include the dispute

resolution procedures set forth in Section VII. (Doc. 518 at 70–72.) Thus, should a Phase 1 class

member seek to enforce the terms of the Amended Settlement Agreement through this Court’s

contempt power, that inmate would have to first proceed through the negotiation and arbitration

process. In the event the inmate’s claim involved less than 12 inmates, the arbitrator’s decision

would be final and not appealable to this Court. (Doc.518 at 71.)

            6.    Inmates – new and independent lawsuits. The members in the Phase 1 class may

assert claims arising under the Acts in a new and independent action. However, the plaintiff in

the new and independent action must comply with all procedural prerequisites, including paying

a filing fee and complying with all provisions of the Prison Litigation Reform Act (such as the

requirement to exhaust administrative remedies) and must independently prove all elements of

his or her claim.

            7.    The Parties acknowledge and agree that, as provided in the Amended Settlement

Agreement, nothing in the Amended Settlement Agreement can be used as evidence in support

of the claims of an absent class member in the new and independent lawsuit. (Doc. 518 at 6,

¶¶ 11–12).

            8.    The Parties acknowledge and agree that nothing in this brief or any previous filing

in this action shall be construed to limit or impair, or acknowledge the merit of, any available

defenses that ADOC may have in a new and independent lawsuit filed by an absent class

member, including the defenses of res judicata, collateral estoppel, release, waiver, etc.




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            Respectfully submitted, this the 22nd day of July, 2016

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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 22, 2016, a copy of the above and foregoing was filed with
the United States District Court for the Middle District of Alabama using the CM/ECF system
which sent notification to all counsel of record.

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